SO ORDERED.

SIGNED this 2nd day of October, 2012.




____________________________________________________________________________




                            UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF KANSAS
In re:
                                                         )
Chad David Berry                                         )     Case No. 12-41541-7 JMK
                                                         )
                                                         )
                  Debtor(s)                              )
__________________________________________

                            AGREED ORDER OF DISMISSAL

         THIS MATTER comes before the Court on the United States Trustee’s Motion to dismiss.

Joseph A. DiPietro appears for the United States Trustee. Terry E. Beck appears for the Debtor.

         The Court finds that the debtor is not eligible for a discharge under 11 U.S.C. § 727(a)(8) in

this case.

         According to the Disclosure of Compensation of Attorney filed in this case, Mr. Beck

agreed to accept $900 for legal services through the Hyatt Legal Plan, plus $306 filing fee, for a

total of $1,206. The $306 filing fee was paid by the Debtor.



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UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF KANSAS
CHAD DAVID BERRY 12-41541-C JMK
AGREED ORDER GRANTING UNITED STATES TRUSTEE’S MOTION TO DISMISS
October 2, 2012




       In order to resolve the pending Motion, Mr. Beck has agreed to either: (a) refund the $306

to the Debtor and waive the $900 legal fee in present case; or in the alternative, (b) waive the filing

fee in a subsequent bankruptcy case on behalf of the Debtor.

       After hearing statements of counsel and review of the file the Court finds that the motion to

dismiss this bankruptcy proceeding is granted without prejudice.

       IT IS SO ORDERED.

                                                       ###


SUBMITTED BY:

RICHARD A. WIELAND
United States Trustee


BY s/ Joseph A. DiPietro
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